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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MASSACHUSETTS
                                      EASTERN DIVISION

                                                                )
In re:                                                          )
                                                                )     Chapter 7
LEGACY GLOBAL SPORTS, L.P., et.al.1                             )     Case No. 20-11157-JEB
                                                                )     Jointly Administered
                           Debtor.                              )
                                                                )

         TRUSTEE’S NOTICE OF INTENT TO ABANDON PERSONAL PROPERTY
               (777 Mantua Grove Road, West Deptford, New Jersey 08066)

         TO ALL PARTIES IN INTEREST:

        PLEASE TAKE NOTICE that, pursuant to section 554(a) of the United States Bankruptcy
Code, 11 U.S.C. section 101 et seq. (the “Bankruptcy Code”), Federal Rule of Bankruptcy
Procedure 6007 and Massachusetts Local Bankruptcy Rule 6007-1, Harold B. Murphy, the duly-
appointed Chapter 7 Trustee (the “Trustee”) of the bankruptcy estates (the “Estates”) of Legacy
Global Sports, L.P., et.al. (collectively, the “Debtors”), intends to abandon the estates’ right, title
and interest in all of the Debtors’ personal property located within a 10’x 20’ storage unit located
at Extra Space Storage, 777 Mantua Grove Road, West Deptford, New Jersey 08066 (the “Storage
Unit”), which includes, among other things, hockey uniforms, including jerseys, jackets and warm
up pants of various colors and sizes, as well as bags to store gear and other related hockey
paraphernalia (the “Personal Property”), on the grounds that the Personal Property is of no benefit
or value to the Estates.

        At the Trustee’s request, a representative of the storage unit facility has provided the
Trustee with photos of the Personal Property. The Trustee has reviewed the Rental Agreement for
the Storage Unit, to which Legacy Global Sports, LP is a party, and is informed that the unpaid
storage charges for the Storage Unit are approximately $9,000. Based upon his review of the
Personal Property and his experience as a Chapter 7 trustee, the Trustee has determined that the
Personal Property is of inconsequential benefit to the Estates and abandonment is appropriate
pursuant to Section 554(a) of the Bankruptcy Code.

        The Estates’ interest in the Personal Property will be deemed abandoned unless a creditor
or other party in interest files a written objection to the proposed abandonment with the Clerk’s

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 The affiliated debtors, along with the last four digits of each debtor’s federal tax identification number, are as
follows: (i) Legacy Global Sports, L.P., EIN #2834; (ii) LGS Management, LLC, EIN # 5401; (iii) LGS
Manufacturing LLC, EIN #5305; (iv) Legacy Global Lacrosse LLC, EIN # 0161; (v) LGS Logistics LLC, EIN
#6244; (vi) LGS Team Sales LLC, EIN # 6484; (vii) Premier Sports Events LLC, EIN #5407; (viii)
Massachusetts Premier Soccer LLC d/b/a Global Premier Soccer, EIN # 6290; (ix) Maine Premier Soccer LLC,
EIN #0740; (x) Mass Premier Soccer in New Hampshire, LLC, EIN #2958; (xi) Florida Premier Soccer LLC,
EIN #0702; (xii) New York Premier Soccer LLC, EIN # XX-XXXXXXX; (xiii) Jersey Premier Soccer LLC, EIN #
0501; (xiv) GPS in Vermont LLC, EIN #3359; (xv) Rhode Island Premier Soccer LLC, EIN #2841; (xvi)
Carolina Premier Soccer LLC, EIN # XX-XXXXXXX; (xvii) Georgia Premier Soccer LLC, EIN #1982; (xviii)
Global Premier Soccer Puerto Rico LLC, EIN #1857; (xix) Global Premier Soccer Canada LLC, EIN # 6291;
(xx) Global Premier Soccer Oregon, EIN #8242; (xxi) Global Premier Soccer California LLC, EIN #7811; (xxii)
Global Premier Soccer Missouri, LLC, EIN #2782; (xxiii) Global Premier Soccer Connecticut, EIN # 6400;
(xxiv) Global Premier Soccer Delaware, EIN # 4703; (xxv) Global Premier Soccer Michigan LLC, EIN # 0533;
(xxvi) Global Premier Soccer Minnesota LLC, EIN # 5588; and (xxvii) Global Premier Soccer Ohio LLC, EIN
#0022.
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Office of the United States Bankruptcy Court, and serves a copy of such objection on the
undersigned within fourteen (14) days of the mailing of this notice.

                                         HAROLD B. MURPHY, CHAPTER 7 TRUSTEE

                                         By his counsel

                                         /s/ Kathleen R. Cruickshank
                                         Kathleen R. Cruickshank (BBO #550675)
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